




NO. 07-07-0372-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



NOVEMBER 28, 2007

______________________________



In the Matter of the Marriage of HORTENSIA C.

HERNANDEZ and FRANCISCO A. HERNANDEZ											_________________________________



FROM THE 137th DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2006-534,974; HONORABLE CECIL G. PURYEAR, JUDGE

_______________________________



MEMORANDUM OPINION

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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Francisco A. Hernandez, appellant, 
appealed from a final judgment of the trial court. &nbsp;We dismiss the appeal.

The clerk’s record was filed with this court on October 1, 2007, and the reporter’s record was filed on October 5, 2007. &nbsp;Appellant’s brief, therefore, was due on November 5, 2007. &nbsp;By letter dated November 13, 2007, we notified appellant’s counsel that the due date for the brief had passed, that the brief had not been filed and that no motion for extension of time to file the brief had been received by the court. &nbsp;Citing Texas Rule of Appellate Procedure
 
38.8, we also informed appellant’s counsel that the appeal would be subject to dismissal unless a response reasonably explaining his failure to file a brief was filed by November 26, 2007. &nbsp;To date, neither a response to the court’s November 13th letter, a brief nor a motion requesting an extension of the lapsed deadline has been filed. 

Accordingly, we dismiss the appeal for want of prosecution and for failing to comply with an order of this court. &nbsp;
Tex. R. App. P. 
38.8(a)(1) and 42.3(b) and (c).



Brian Quinn

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Chief Justice


